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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUSIANA

Inre: Vioxx ®

MDL Docket No. 1657
PRODUCTS LIABILITY SECTION L

LITIGATION

. CIVIL ACTION NO. 2:06-cv-01190
This document relates to:

Jeanette Connors, et al., JUDGE FALLON

MAGISTRATE JUDGE KNOWLES

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Merck & Co., Inc.

Only with regard to: STIPULATION OF DISMISSAL
, WITH PREJUDICE AS TO ALL DEFENDANTS

Rita Nowicki

Pursuant to Fed. R. Civ. Pro. 41 (a), the undersigned counsel hereby stipulate that
all claims of plaintiff Rita Nowicki against defendant Merck & Co., Inc., be dismissed in their

entirety with prejudice, with each party to bear its own costs. -

Connors Stip of Dismissal
Case 2:05-md-01657-EEF-DEK Document 16344 Filed 10/08/08 Page 2 of 3

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Connors Stip of Dismissal
Case 2:05-md-01657-EEF-DEK Document 16344 Filed 10/08/08 Page 3 of 3

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip

Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by

electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-

Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF system

which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 8th day of October, 2008.

/s/ Dorothy H. Wimberly
Dorothy H. Wimberly, 18509
STONE PIGMAN WALTHER
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